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                   IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MISSOURI (ST. LOUIS)

IN RE:
Shannel R. Ballard Moore
Aka Shannel Ruby Ballard                           Case No. 18-42931-705
              Debtor,                              Chapter 7

Select Portfolio Servicing, Inc. as
servicer for, Deutsche Bank National
Trust Company, as Trustee, on behalf
of the holders of the J.P. Morgan
Mortgage Acquisition Trust 2007-CH5
Asset Backed Pass-Through Certificates,
Series 2007-CH5
                        Creditor,                  Response Date    July 10,2018
                                                   Hearing Date:     July 17, 2018
                                                   Hearing Time:     9:30 a.m.
                                                   Location:         7 South
Tracy A. Brown
             Trustee.


              NOTICE OF HEARING AND MOTION FOR RELIEF FROM
              AUTOMATIC STAY PURSUANT TO RULES 4001 AND 9014,
                 RULES OF BANKRUPTCY PROCEDUREAND FOR
                ABANDONMENT OF REAL PROPERTY BY TRUSTEE

     WARNING: ANY RESPONSE OR OBJECTION MUST BE FILED WITH THE
          July 10, 2018
COURT, BY _________________ (SEE L.B.R. 9013-2). A COPY MUST BE PROMPTLY
SERVED UPON THE UNDERSIGNED. FAILURE TO FILE A TIMELY RESPONSE
MAY RESULT IN THE COURT GRANTING THE RELIEF REQUESTED PRIOR TO
THE HEARING DATE. THE HEARING TO BE HELD ON THE DATE AND TIME
ABOVE BEFORE THE HONORABLE CHARLES E. RENDLEN III, IN THE UNITED
STATES BANKRUPTCY COURT, EASTERN DISTRICT OF MISSOURI, THOMAS F.
EAGLETON BUILDING, 111 S. TENTH ST., ST. LOUIS, MO 63102, 7TH FLOOR
SOUTH

       COMES NOW Creditor, Select Portfolio Servicing, Inc. as servicer for, Deutsche Bank

National Trust Company, as Trustee, on behalf of the holders of the J.P. Morgan Mortgage

Acquisition Trust 2007-CH5 Asset Backed Pass-Through Certificates, Series 2007-CH5 its
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subsidiaries, affiliates, predecessors in interest, successors or assigns pursuant to Rules 4001 and

9014 of the Bankruptcy Rules, and states and alleges as follows:

       1.       That an Order for Relief was entered on Debtor’s petition under Chapter 7 of Title
11 of the United States Code on or about May 3, 2018.
       2.       Jurisdiction is invoked in the District Court under 28 U.S.C. ' 1334(a) and 28
U.S.C. ' 157(b)(2)(G), and venue is just and proper in this Court pursuant to 28 U.S.C.
'1408(1). This is a core proceeding.
       3.       That at the time of the filing of her petition, Debtor was indebted to Creditor on a
Promissory Note ("Note") and Deed of Trust dated March 19, 2007, granting Creditor a security
interest in property legally described as:
       LOT 135 OF LOWER LADUE HILLS, A SUBDIVISION IN ST. LOUIS COUNTY,
ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT BOOK 57, PAGE 2 OF THE
ST. LOUIS COUNTY RECORDS.
       COMMONLY KNOW AS 3959 THOMAS DRIVE, SAINT LOUIS MO 63134


       4.       As of May 14, 2018, the sum due to the Creditor is $ 66,323.82 and the interest
rate is 5.00%. A copy of said Promissory Note, Deed of Trust and Assignment are available
upon request.
       5.       That as of the filing date of this Motion for Relief Debtor has failed to pay the
contractual monthly payments due Creditor on the due dates and the Debtor is currently
delinquent as follows:
     Description                                                 Amount
     (2) Late Payments @ $ 706.39(1//1/18-5/2018)                 $1,412.78
     (3) Late Payments @ $687.72                                  $2,063.16
     Total:                                                       $3475.94


       6.       That the estimated value of this property is $50,000.00 per the Bankruptcy
Petition filed by the debtor.

       7.       The correct mailing address for this Creditor is: Select Portfolio Servicing, Inc.,
P.O. Box 65450, Salt Lake City, UT 84165. All payments must be mailed to this address.
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          8.     That Debtor has no equity in the real estate described in paragraph 3 and the
value of the property is less than Debtor’s indebtedness to Creditor, together with other liens
against the property and anticipated cost of the foreclosure sale thereof, therefore, the retention
of said property by the Trustee in this cause would not be beneficial to the estate and Creditor
therefore, requests that the Court enter its order herein, that the Trustee has abandoned same.
          9.     That Creditor is not adequately protected in that Debtor has no equity in the real
estate described in paragraph 3, and in addition, Creditor=s equity cushion is eroding in at least
the amount of the interest accruing upon the indebtedness on a daily basis.
          10.    That Tracy A. Brown has been appointed Trustee in this case; as said property
has no equity for the estate and as Debtor has stated in her Chapter 7 Statement of Intention that
she intends to surrender the property, Creditor requests that the Court enter its order finding that
the Trustee has abandoned his interest in and to said real property.
          11.     That Creditor desires to proceed with foreclosure against the within described
real property, pursuant to Missouri law, and requests that the Court enter its order granting the
relief from the stay so that it may do so and in the process clear title to said property.
       WHEREFORE, Creditor prays for an order of this Court granting it relief from the
automatic stay imposed by 11 U.S.C. Section 362(a) so as to permit it to commence foreclosure
of the deed of trust on the real property described in paragraph 3; that this order shall survive a
conversion to a Chapter 13; that the Trustee=s interest is hereby abandoned; that the attorney fees
and costs herein requested be granted; and for such other relief as this Court deems just and
proper.
                SUMMARY OF EXHIBITS AND CERTIFICATE OF SERVICE

          The following exhibits in reference to the Motion for Relief from Automatic Stay are

available upon request:

                1.      Note, Deed of Trust and Assignment


                                                       PITTENGER LAW GROUP, LLC

                                                       /s/ Brandon T. Pittenger
                                                       Brandon T. Pittenger #53544MO
                                                       6900 College Blvd, Suite 325
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                                                    Overland Park, KS 66211
                                                    (913) 323-4595 ext. 144
                                                    FAX (913) 661-1747
                                                    ecf@pittengerlawgroup.com
                                                    ATTORNEY FOR CREDITOR


                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served via ECF to those parties receiving ECF
                                                  June 6, 2018
notice and mailed to the parties listed below on _______________    to:



Shannel R. Ballard Moore
Aka Shannel Ruby Ballard
3959 Thomas Drive
Saint Louis, MO 63134
DEBTOR

Rochelle D. Stanton
745 Old Frontenac Square
Suite 202
Frontenac, MO 63131
ATTORNEY FOR DEBTOR

Tracy A. Brown
1034 S. Brentwood Blvd, Suite 1830
St. Louis, MO 63117
TRUSTEE

/s/ Brandon T. Pittenger
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